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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC           §
                                      §
        Plaintiff,                    §              Case No: 2:15-cv-01169-RWS-RSP
                                      §
  vs.                                 §              LEAD CASE
                                      §
  ADAMS EXTRACT                       §
                                      §
        Defendant.                    §
  ___________________________________ §
  SYMBOLOGY INNOVATIOSN, LLC          §
                                      §
        Plaintiff,                    §              Case No: 2:15-cv-01173-JRG-RSP
                                      §
  vs.                                 §              CONSOLIDATED CASE
                                      §
  WELLMARK, INC d/b/a WELLMARK        §
 .BLUE  CROSS    AND BLUE SHIED OF    §
  IOWA et al                          §
                                      §
        Defendant.                    §
  ___________________________________ §

                                            ORDER

        On this day the Court considered the Unopposed Motion to Dismiss Wellmark, Inc. d/b/a
 Wellmark Blue Cross and Blue Shield of Iowa, Wellmark of South Dakota, Inc. d/b/a Wellmark
 Blue Cross Blue Shield of South Dakota, Blue Cross and Blue Shield of Texas, Inc. It is therefore
 ORDERED that all claims by Symbology are hereby DISMISSED WITH PREJUDICE, and all
 claims by Defendants are hereby DISMISSED AS MOOT, with each party to bear its own costs,
 expensesSIGNED    this 3rd
          and attorneys’    day of January, 2012.
                         fees.
        SIGNED this 8th day of July, 2016.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE
